       Case:17-05208-EAG13 Doc#:45 Filed:03/27/18 Entered:03/27/18 15:43:40                                  Desc:
                        Confirming Plan Ch13 - Main Pa Page 1 of 1
                                IN THE UNITED STATES BANKRUPTCY COURT
                                            District of Puerto Rico



IN RE:                                                         Case No. 17−05208 EAG

FREDDIE LUIS ALICEA RAMOS
                                                               Chapter 13

xxx−xx−8428

                                                               FILED & ENTERED ON 3/27/18
                         Debtor(s)



                                            ORDER CONFIRMING PLAN

The debtor's (s') Chapter 13 plan was duly served on all parties. A hearing on confirmation of the plan was held after
due notice to all parties in interest. Objections, if any, have been resolved. The Court hereby finds that each of the
requirements for confirmation of a Chapter 13 plan pursuant to 11 U.S.C. 1325 (a) are met.

1. The debtor(s), or his employer, shall make the payments to the trustee required by the plan as confirmed or as
hereafter modified. If the debtor(s) does (do) not cause such payments be timely made, the trustee may request the
Court for an order directing the debtor's (s') employer to make the appropriate payroll deductions and payments to the
trustee or to pay the debtor's (s') entire earnings and wages to the trustee [11 U.S.C. 1325 (c)]. Such an order may be
issued without further notice.

2. The debtor(s) shall obtain the approval of the trustee prior to incurring additional debt. The failure to obtain such
approval may cause the claim for such debt to be disallowed pursuant 11 U.S.C. 1305 (c) and the debt to be non
dischargeable [11 U.S.C. 1328 (d)].

3. If the debtor's (s') plan is confirmed prior to the last day to file claims, or to object to the debtor's (s') claim of
exemptions, a modification of the confirmed plan pursuant to 11 U.S.C. 1329 may be required after these dates have
past.

Therefore, IT IS SO ORDERED that the debtor's (s') Chapter 13 plan dated March 19, 2018 is CONFIRMED.

ALLOWANCE OF DEBTOR ATTORNEY'S (S') FEES

The application for the allowance of reasonable compensation as authorized by 11 U.S.C. 330, having been
considered, the court finds that a reasonable fee for the services performed and undertaken by such attorney is
$3,000.00. Such fee, less any retainer, shall be paid by the trustee from the monies received under the debtor's (s')
plan, provided, however, that such payments be deferred in time to payments which may be required to provide
adequate protection of the interest of the holders of secured claims.

In Ponce, Puerto Rico, this Tuesday, March 27, 2018 .
